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UNITED STATES DISTRICT CoURT JAN 09 2009 ,S
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V. l `
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Hector Benavidez (30') @
Ramiro J. Romero (33)"""' f\@l€+- cf 'H'J.

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CRIMINAL COMPLAINT
lO P*’MCaSeNumber: <'>"` 0(]_0»\`:§, d UOG~S`

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I, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about January 7, 2009 in Webb County, in
(Dm)
the Southern District of Texas Defendant(s) did,

 

 

(T rack Statuto)y Language of Oj"ense)

Knowingly and intentionally conspired to possess with the intent to distribute a controlled substance listed under Schedule lI,
Title H of the Controlled Substance Act, to wit; approximately two hundred thirty five (235.6) kilograms of cocaine

 

 

 

in violation of Title 21 United States Code, Section(s) 846, 84l(a)(l)
I further state that I am a(n) Special Agent, U.S. ICE and that this complaint is based on the
omcial Tiu¢
following facts:
SEE ATTACHMENT A
Continued on the attached sheet and made a part of this complaint §§ Yes No
l <’/\ ¢>` iq / ¢-¢ ¢~`.»v\/’o
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Si ture ofComplaioant

Juan R. Lozano
Primed Na.me of Complainant

Sworn to before me and signed in my presenee,

Janua_ry 9, 2009
me

Dian_a Saldana .United States Magistrate Judge
Name and Title ofJudicial Offieer

 

 

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A'i`l"ACHMENT “A"

On Jenuary 7, 2009, U.S. immigration and Customs Enforcement (|CE) special
agents assigned to the office of the Deputy Special Agent in Charge (DSAC),
Laredo, agents along with agents from the Drug Enforcement Adminlstration
(DEA) and oflicers from the Laredo Police Department Narcotics Unit (LPDNU)l
initiated surveillance on Ramiro J. Romero, a truck driverfor a local trucking
company, after receiving information indicating that he would be transporting an
unknown amount cf narcotics

On this same datel lCE agents along with agents from the Drug Enforcement
Administratlon (DEA), and officers from the Laredo Police Department Narcotics
Unit (LFDNU), initiated surveillance on Romero. Surveillance units observed
Romero depart his place of residence and drive to French Ellison Tmck Center,
where he obtained a tractor hooked up to an empty trailer.

Survelllance units followed Romero to a local warehouse where he was loaded
with a legitimate cargo shipment comprised of steel wire and cable.
Approximately forty minutes later Romero left the warehouse a d was followed
north on Mines Road to a second warehouse located at M
Laredo. TX. Agents observed Romero reverse the tracts ar er in o e

warehouse Approximately forty-live minutes later, surveillance units observed
the tractor-trailer leave the warehouse and followed it south on Mines Road.

The tractor~traller was followed to Highway 59 East in Laredo, Texas, where it
was stopped by a Laredo Pollce Department (LPD) patrol unit for a traffic
violation At the scene of the traffic stopl Romero provided written consent to
search the tractor trailer to the LPD ocher. An LPD canine unit was utilized to
conducts search of the tractor-trailerl resulting in a positive alert to the presence
of narcotics odor emanating from inside the trailer. A visual inspection inside the
trailer revealed four cardboard boxes filled with approximately twenty cellophane-
wrapped bundles of a white powdery substance which tleld tested positive for
cocaine The total weight of the cocaine as per Customs and Bcrder Protection
scales was two hundred thirty~frve point tifty~six (235.56) kilograms

Romero was transported tc the DSAC Laredo office where lCE agents advised
Romero of his Miranda Wamings in the Spanish language Romero stated he
understood his rlghts, signed a waiver of rights form and agreed to provide a
statement Romero confessed to lCE and DEA agents that he was aware he
was transporting the cocaine to Ailanta, Georgia. Romero stated he waste be
paid three hundred dollars ($300_00) per kilogram of cocaine once he returned to
Laredo.

During surveillance of the warehouse where the cocaine was loadedl agents
observed a male subject later identihed as i-iector Benavldes Jr., interacting with
Romero while the cocaine was being loaded. Atter the vehicles departed the

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warehouse surveillance subsequently located Benavides at his residence, where
he was approached by lCE egents. Benavides agreed to be interviewed and was
transported to the DSAC Laredo omce. Benavides was read his Miranda
Wamings in the Spanish language Benavides stated he understood his rlghts,
signed a waiver of rights form and agreed to provide a statement Benavides
admitted to lCE and DEA agents that he provided his warehouse for the trans~
loading of the cocaine in exchange for $2,000.00.

Both Romero and Benavides were arrested and subsequently transported to the
Webb County Detention Center without incident

